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                              UNITED STATES JUDICIAL PANEL
                                           on
                               MULTIDISTRICT LITIGATION


IN RE: ANTHEM, INC., CUSTOMER DATA
SECURITY BREACH LITIGATION
      Wendy Ross v. Blue Cross Blue Shield Association, et al., )
            N.D. Illinois, C.A. No. 1:15-02006                  )                       MDL No. 2617


            ORDER LIFTING STAY OF CONDITIONAL TRANSFER ORDER


        A conditional transfer order was filed in this action (Ross) on June 9, 2015. Prior to
expiration of that order’s 7-day stay of transmittal, plaintiff in Ross filed a notice of opposition to
the proposed transfer. Plaintiff later filed a motion and brief to vacate the conditional transfer order.
The Panel has now been advised that plaintiff has withdrawn her opposition to transfer.

        IT IS THEREFORE ORDERED that the stay of the Panel's conditional transfer order
designated as “CTO-1” filed on June 9, 2015, is LIFTED insofar as it relates to this action. The
action is transferred to the Northern District of California for inclusion in the coordinated or
consolidated pretrial proceedings under 28 U.S.C. § 1407 being conducted by the Honorable Luch
H. Koh.


                                                        FOR THE PANEL:



                                                        Jeffery N. Lüthi
                                                        Clerk of the Panel
